                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:24-CV-277-KDB-DCK

 DENNIS HANSCOM,                                   )
                                                   )
                 Plaintiff,                        )
                                                   )
     v.                                            )      ORDER
                                                   )
 NORDSEC LTD., et al.,                             )
                                                   )
                 Defendants.                       )
                                                   )


          THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 7) filed by Scott C. Harris, concerning Ethan D. Roman, on

March 11, 2024. Ethan D. Roman seeks to appear as counsel pro hac vice for Plaintiff. Upon

review and consideration of the motion, which was accompanied by submission of the necessary

fee and information, the Court will grant the motion.

          IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 7) is GRANTED. Ethan D. Roman

is hereby admitted pro hac vice to represent Plaintiff.

          SO ORDERED.

                                 Signed: March 11, 2024




          Case 3:24-cv-00277-KDB-DCK Document 9 Filed 03/12/24 Page 1 of 1
